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                             UNITED STATES DISTRICT COURT


                                DISTRICT OF SOUTH DAKOTA


                                     CENTRAL DIVISION



UNITED STATES OF AMERICA,                                          3:23-CR-30027-RAL


                        Plaintiff,

                                                          OPINION AND ORDER DENYING
        vs.                                                 MOTION FOR REDUCTION IN
                                                                      SENTENCE
SYLVAN LARRABEE,

                        Defendant.




       On June 12, 2023, this Court sentenced Defendant Sylvan Larrabee to 17 months of

imprisonment for failure to register as a sex offender followed by five years of supervised release.

Doc. 26. At the time of the sentencing, Larrabee was in Criminal History Category IV with a

guideline range of 21 to 27 months. The retroactive change to § 4Al.l(e) of the United States

Sentencing Commission's Guidelines Manual has the effect of placing Larrabee in Criminal

History Category III, where his guideline range would have been 15 to 21 months.

       Larrabee filed a Motion for Reduction in Sentence,Doc. 27, proposing a reduction to a 15-

month sentence, at the bottom end of the amended guideline range. The United States does not

contest Larrabee's eligibility to be considered for a sentence reduction nor the proposed reduction

in Larrabee's sentence. Doc. 29, but this Court exercises its independent judgment on whether to

grant a sentence reduction and the extent of any such reduction.

       In Dillon v. United States, 560 U.S. 817 (2010), the Supreme Court of the United States

addressed the process for application of a retroactive guideline amendment, emphasizing that



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U.S.S.G. § IBl.lO is binding. The Supreme Court required any "reduction [to] be consistent with

applicable policy statements issued by the Sentencing Commission" and directed district courts to

follow a two-step approach. Id, at 821. In the first step, a court must determine the inmate's

eligibility for a modification and then determine the amended guidelines range. Id At step two,

§ 3582(c)(2)instructs courts to consider applicable 18 U.S.C. § 3553 factors to determine whether

the authorized reduction is warranted in whole or in part under the specific circumstances of the

case. Id at 827. The Supreme Court also observed:

       Consistent with the limited nature of§ 3582(c)(2) proceedings, § IB1.10(b)(2) also
       confines the extent of the reduction authorized. Courts generally may "not reduce
       the defendant's term of imprisonment under 18 U.S.C. § 3582(c)(2)... to a term
       that is less than the minimum of the amended guideline range" produced by the
       substitution.


Id at 821 (quoting U.S.S.G. S IB 1.10(b)(2)(A)).

       In Part A to Amendment 821 to the Sentencing Guidelines, the Sentencing Commission

altered the "status points" provision regarding criminal history, which now appears in § 4AI.l(e).

The amended provision states:

       Add 1 point if the defendant (I) receives 7 or more points under subsections (a)
       through (d), and(2)committed the instant offense while under any criminaljustice
       sentence, including probation, parole, supervised release, imprisonment, work
       release, or escape status.

Thus, a person who otherwise has 7 criminal history points or more now receives I additional

"status" criminal history point, instead of2, while one who otherwise has 6 criminal history points

or fewer receives no status points.

       On August 24, 2023, the Commission decided that this change applies retroactively. The

Commission further directed that a court granting relief may not order the release of a defendant

to occur any earlier than February 1, 2024. See § IBI.10(e)(2)(Nov. 1, 2023).
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          Applying the amended U.S.S.G. § 4Al.l(e), Larrabee gets no status points instead of 2,

and has a total of6 criminal history points. That places him in Criminal History Category III and

reduces the advisory Guideline range to 15 to 21 months. See U.S.S.G., Ch. 5, Pt. A (Sentencing

Table).

          Turning to step two, § IBl.10 directs that "the court shall consider the factors set forth in

18 U.S.C. § 3553(a) in determining . . . whether a reduction in the defendant's term of

imprisonment is warranted." U.S.S.G. IBl.lO, cmt. n.l(B)(i). "The grant of authority to the

district court to reduce a term of imprisonment is unambiguously discretionary," even when the

guideline range is actually reduced. United States v. Vautier. 144 F.3d 756, 760(11th Cir. 1998).

Under the "Background" to U.S.S.G. § IBl.lO, "[t]he authorization of such a discretionary

reduction does not otherwise affect the lawfulness of a previously imposed sentence, does not

authorize a reduction in any other component of the sentence, and does not entitle a defendant to

a reduced term ofimprisonment as a matter of right." In the context of First Step Act reductions,

the Eighth Circuit has ruled that "[o]nce a district court determines that a defendant is eligible for

a sentence reduction, it has 'substantial discretion' to choose whether to reduce the sentence."

United States v. Bumelh 2 F.4th 790, 792 (8th Cir. 2021)(citing United States v. Hoskins. 973

F.3d 918, 921 (8th Cir. 202011: see United States v. Young. 555 F.3d 611,614(7th Cir. 2009).

          Subject to the limits set forth in § IB 1.10(b), a court may consider all pertinent information

in applying the § 3553(a) factors and determining whether and by how much to reduce a

defendant's sentence. Pillion. 560 U.S. at 821-22. Section 3553(a), in addition to requiring

consideration of the applicable guidelines and policy statements of the Sentencing Commission,

mandates the sentencing judge to consider:

          (1) the nature and circumstances of the offense and the history and characteristics
              ofthe defendant;
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       (2) the need for the sentence imposed—
          (A) to reflect the seriousness ofthe offense,to promote respect for the law,and
               to provide just punishment for the offense;
          (B)to afford adequate deterrence to criminal conduct;
          (C)to protect the public from further crimes ofthe defendant; and
          (D)to provide the defendant with needed educational or vocational training,
               medical care, or other correctional treatment in the most effective manner;
       (3) the kinds of sentences available;

18 U.S.C. § 3553(a).

       The nature and circumstances of Larrabee's offense were typical of a failure to register as

a sex offender. Larrabee had committed an offense in 2015, when he was in his early to mid-

twenties, ofsexual contact with a fourteen-year-old girl who subsequently killed herself. Larrabee

had to register as a sex offender but had failed to do so in 2021,leading to a failure to register as a

sex offender conviction where he received a 15-month sentence in this Court. After a revocation


of supervision, Larrabee got out ofcustody on supervised release on December 6,2022. Although

he had met with his probation officer shortly before his release and received instructions on

reporting to his probation officer and the need to update his registration, Larrabee did neither. His

whereabouts were unknown until his arrest at a motel on January 3, 2023.

        The history and characteristics of Larrabee, in addition to the old sex offense and the prior

failure to register conviction, reveal that he endured a difficult upbringing. His mother died when

he was young, he had no relationship with his father, and he has struggled in life. He has been a

user of alcohol and marijuana, with some mental health concerns. Nothing in his personal history

and characteristics militated for any particularly light sentence.

        The remaining factors of seriousness ofthe offense, promotion of respect for the law,just

punishment, adequate deterrence, and protection of the public justify no reduction from the prior

sentence. Indeed, this Court specifically designed the 17-month sentence it imposed to be slightly

more than his prior 15-month sentence for failing to register; increasing the sentence for a second
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failure to register by two months aimed to achieve punishment and deterrence. The 17-month

sentence was below the guideline range at the time of 21 to 27 months, but with the reduced

guidelines of 15 to 21 months is now toward the bottom ofthat guideline range.

       This Court has and will continue to grant motions for sentence reductions consistent with

the retroactive application of the recent guideline changes, but not here, where doing so would

result in no increase in the sentence from the first to the second failure to register as sex offender

conviction. Therefore, it is

       ORDERED that Sylvan Larrabee's Motion for Reduction in Sentence, Doc. 27,is denied.

       DATED this 4th day of March,2024.

                                              BY THE COURT:




                                               ROBERTO A. LANGE
                                               CHIEF JUDGE
